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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 14-CV-02887-JLK


  ALEJANDRO MENOCAL, et al.,

         Plaintiffs,

  v.

  THE GEO GROUP, INC.,

         Defendant.


       JOINT MOTION FOR ENTRY OF STIPULATED ORDER REGARDING THE
                 DISCLOSURE OF PRIVILEGED INFORMATION


         The parties, by and through their respective counsel, submit the following Joint Motion

  for Entry of Stipulated Order Regarding the Disclosure of Privileged Information:

         The parties have agreed to the terms of a Stipulated Order Regarding the Disclosure of

  Privileged Information under F.R.E. 502(d). The parties’ proposed Stipulated Order Regarding

  the Disclosure of Privileged Information is being filed simultaneously with this Joint Motion.

  By this Joint Motion, the parties’ respectfully request that the Court enter as an Order of the

  Court their proposed Stipulated Order Regarding the Disclosure of Privileged Information.


         Respectfully submitted this 21st day of September, 2017.
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 21st day of September, 2017, I electronically filed the
  foregoing JOINT MOTION FOR ENTRY OF STIPULATED ORDER REGARDING THE
  DISCLOSURE OF PRIVILEGED INFORMATION with the Clerk of Court using the
  CM/ECF system which will send notification of such filing to the following or deposited a copy
  of the filing in the United States mail, postage prepaid, addressed as follows:


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